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    EXHIBIT A
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 Attorneys for Plaintiﬀs


                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFO RNIA

JONAS PEREZ-HERNANDEZ and ISABEL                   Civil No.: 3:24-cv-01736-VC
PAZ-HERNANDEZ, individually and on behalf of       MDL: 3:16-md-02741-VC
all others similarly situated,
                                                   FIRST AMENDED CLASS ACTION
               Plaintiﬀs,                          COMPLAINT

       v.                                          DEMAND FOR JURY TRIAL

BAYER AKTIENGESELLSCHAFT, a German
joint-stock company; BAYER CORPORATION,
an Indiana corporation; and MONSANTO
COMPANY, a Delaware corporation,

               Defendants.




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          Plaintiﬀs Jonas Perez-Hernandez and Isabel Paz-Hernandez (“Plaintiﬀs”), individually and on

behalf of all others similarly situated, by and through undersigned class counsel allege as follows, based

on information and belief, personal knowledge, and investigation of counsel:

I.        INTRODUCTION

          1.         is is a class action brought on behalf of a class of agricultural workers, landscapers,

and groundskeepers who (a) have signiﬁcant occupational exposure to the herbicide Roundup, which

contains the carcinogen glyphosate linked to the development of Non-Hodgkin’s Lymphoma (“NHL”);

(b) because of their exposure to glyphosate are at increased risk of developing NHL, but (c) are not

diagnosed as suﬀering from NHL or under the care of a physician for suspected NHL as of the date of

any relief obtained in this action.

          2.         e relief sought by Plaintiﬀs is equitable in nature and discrete in focus. Plaintiﬀs wish

to compel Defendants Bayer Aktiengesellschaft (“Bayer AG”), Bayer Corporation (“Bayer US”)

(together, “Bayer”), and Monsanto Company (“Monsanto”) to provide medical monitoring for the early

detection of NHL and surveillance of development of NHL through a program supervised by this Court.

          3.       Monsanto is the defendant in tens of thousands of personal injury cases, brought

primarily by individuals who have used residential lawn and garden Roundup products and allege that

such use has caused their existing cancer diagnoses. When Bayer purchased Monsanto for $63 billion in

June 2018, these suits were well under way, and more were being ﬁled everyday nationwide.

          4.       Bayer, which boasted of its thorough due diligence in purchasing Monsanto, cannot claim

ignorance of Monsanto’s extensive history of concealing the known risks associated with Roundup from

consumers and from regulators. Perversely, and given its unique posture as an international

conglomerate, Bayer stands to proﬁt handsomely from its decision to continue selling products

including: (1) Roundup; (2) Roundup Ready seeds for glyphosate-based Roundup; and (3) medications



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and therapies to treat the non-Hodgkins Lymphoma caused by the Roundup. Pharmaceuticals is Bayer’s

second largest division (behind only Crop Science, the division encompassing Monsanto’s business) and

Bayer is “counting on its growing oncology business to deliver one third of the $30 billion in

pharmaceuticals sales it has committed to generating by 2030.”

       5.       Like Monsanto before it, Bayer maintains to the public and regulators that Roundup is

safe, and speciﬁcally that “[t]here is an extensive body of research on glyphosate and glyphosate-based

herbicides, including more than 800 scientiﬁc studies submitted to U.S. or other worldwide regulators …

that conﬁrm that glyphosate and our glyphosate-based formulated products can be used safely and do

not cause cancer.” But as Bayer is aware, many such studies have been discredited as ghostwritten by

Monsanto or have been otherwise deemed invalid. Bayer continues to cite these discredited studies,

including a 2020 EPA evaluation of the carcinogenicity of glyphosate that the United States Court of

Appeals for the Ninth Circuit has vacated for including “serious” errors in “assessing human-health risk”

and defying the EPA’s own Cancer Guidelines.

       6.       Defendants knew or should have known that Roundup is associated with an increased

risk of developing NHL, but took active steps to conceal, and failed to adequately inform and warn

Plaintiﬀs and the Class of, the serious risks associated with the use of and exposure to glyphosate-based

formulations, including Roundup. In the pursuit of massive proﬁt and at the expense of public health and

public access to information, Defendants have promoted and funded falsiﬁed data; attacked legitimate

studies revealing the dangers of Roundup; mounted a campaign of misinformation to delegitimize the

work of scientists attempting to reveal the dangers of Roundup; and made and continue to make

representations suggesting that Roundup was, and is, safer than ordinary household items (including

even table salt) despite decades of research in their possession indicating otherwise.   ese statements

and misrepresentations have been made with the intent of inducing the purchase and use of Roundup for



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Defendants’ pecuniary gain, and with disregard for and reckless indiﬀerence to the safety of those

exposed to Roundup.

        7.      At the very least, Defendants have failed to inform and have deceived consumers that

there is an ongoing scientiﬁc dispute over the carcinogenicity of Roundup.

        8.      As a result of Monsanto’s decades-long deceit and obfuscation, well over one hundred

thousand Roundup users have NHL diagnoses and other serious health conditions.

        9.      So far, Bayer has resolved many of the tens of thousands of claims that have been ﬁled or

that were set to be ﬁled, for billions of dollars.   ey have also publicly committed to paying billions

more in settlements related to Roundup. But as noted above, these claims were virtually all brought by

individuals who purchased Roundup for residential garden and lawn use. In 2023, rather than

reformulate Roundup for all users (which it is capable of doing), Bayer instead decided to phase out its

glyphosate-based Roundup product in the residential lawn and garden market only, which it describes as

a “relatively small or very small part of the Roundup business” but the source of “over 90% of all

claims” ﬁled.

        10.     As such, the settlements to date have done nothing to help Plaintiﬀs or the proposed Class

of hundreds of thousands of agricultural workers, landscapers, and groundskeepers with signiﬁcant

occupational exposure to Roundup.        ese workers have not only fallen through the cracks of this MDL

and of litigation across the country—they constitute a particularly vulnerable population for several

reasons. Roundup products that Defendants sell for commercial and industrial use are often in a

concentrated form that contain more elevated levels of glyphosate compared to products sold for

residential garden and lawn use. Because approximately 90% of the glyphosate produced is applied in

agricultural settings, it follows that occupationally exposed persons comprise an overwhelmingly large

proportion of those exposed to the dangers of Roundup.        ese individuals, including Plaintiﬀs, have



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ingested and been exposed to Roundup over sustained and prolonged periods of time.          ese individuals

are part of a diﬀuse group, often undocumented, face language barriers, and can harbor a distrust or fear

of public agencies or institutions.

       11.        e fact that Roundup and the glyphosate contained therein leads to NHL is now well

known, even to workers such as Plaintiﬀs and Class members.         e likelihood of developing NHL as a

result of exposure to glyphosate, especially over a sustained or prolonged period of time, has been

repeatedly corroborated by reliable medical and scientiﬁc opinion.      is has led Plaintiﬀs and those

similarly situated to develop a real fear and anxiety that they will develop NHL as a result of their

sustained and prolonged exposure to Roundup.

       12.      In other words, Defendants, with the knowledge that Roundup is dangerous and/or with

reckless disregard for its danger, continue to subject agricultural workers, landscapers, and

groundskeepers to the risk of developing a deadly blood cancer simply because this population has

proven less litigious.

       13.      Defendants’ concealment and omission of material facts in connection with their

promotion, marketing, advertising, distribution, labeling, and sale of Roundup, including their continued

endorsement of discredited studies and failure to provide the public with complete information regarding

their product, constitutes negligence and violates California’s Unfair Competition Law (“UCL”), Section

17200 of the California Business and Professions Code.

       14.        is lawsuit thus seeks to obtain equitable relief to save lives. Because early detection,

intervention, and diagnosis can greatly increase survivability of NHL, and because of the nature of the

underserved and vulnerable population at issue, the relief requested by Plaintiﬀs include medical

monitoring and other prophylactic relief that will be disseminated through extraordinary outreach




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eﬀorts, aimed at workers with signiﬁcant occupational exposure to Roundup who are at increased risk of

developing NHL.

II.     JURISDICTION AND VENUE

        15.       is Court has subject matter jurisdiction over Defendants and the proposed class action

pursuant to 28 U.S.C. § 1332(d), the Class Action Fairness Act. Defendants are incorporated and operate

their principal places of business outside of the State of California, where Plaintiﬀs reside.   ere are

more than 100 Class Members.       e amount in controversy exceeds $5 million.

        16.       is Court also has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. § 1367, as they form part of the same case or controversy as the claims within the Court’s

original jurisdiction.

        17.       is Court has personal jurisdiction over Defendants because the conduct at issue arises

out of Defendants’ contacts with this District. Defendant has, at all times relevant, individually or

through its agents, subsidiaries, and representatives engaged in business in this State; marketed,

advertising, distributed, and/or sold products in this State; committed statutory violations related to the

allegations set forth herein in this State; and caused injuries to Plaintiﬀs and Class members that arose

out of acts and omissions that occurred in in this State.

        18.     Venue is proper within this district pursuant to 28 U.S.C. § 1391. Defendants, through

their business conduct, purposefully avail themselves of the markets in this District and have suﬃcient

minimum contacts with this District, and a substantial part of the acts and/or omissions giving rise to

these claims occurred in this State.

III.    PARTIES

        19.     Plaintiﬀ Jonas Perez-Hernandez was and is a resident of the State of California. Plaintiﬀ

Perez-Hernandez was employed as an agricultural worker and exposed to Roundup products over a



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period of approximately 19 years in San Luis Obispo and Santa Barbara, California. As a result of

Plaintiﬀ Perez-Hernandez’s sustained and prolonged exposure to Roundup, Plaintiﬀ Perez-Hernandez

has a fear of developing NHL because of his ingestion and/or exposure to Roundup. On information and

belief, Plaintiﬀ’s exposure is ongoing due to his occupation.

       20.      Plaintiﬀ Isabele Paz-Hernandez was and is a resident of the State of California. Plaintiﬀ

Paz-Hernandez was employed as an agricultural worker and exposed to Roundup products over a period

of approximately 19 years in San Luis Obispo and Santa Barbara, California. As a result of Plaintiﬀ Paz-

Hernandez’s sustained and prolonged exposure to Roundup, Plaintiﬀ Paz-Hernandez has a fear of

developing NHL because of her ingestion and/or exposure to Roundup. On information and belief,

Plaintiﬀ’s exposure is ongoing due to her occupation.

       21.      Defendant Bayer AG is a joint-stock company incorporated in the Federal Republic of

Germany with its headquarters and principal place of business at Bayerwerk, Gebäude W11, Kaiser-

Wilhelm-Allee, 51368 Leverkusen, Germany. On June 7, 2018, Bayer became the sole owner of

Defendant Monsanto in the largest acquisition in Bayer’s history for a total purchase price of $63 billion.

Bayer took out $57 billion in ﬁnancing to make the acquisition and remains $43 billion in debt as a

result. Since acquiring Monsanto, Bayer AG, along with its US subsidiary, has persisted in designing,

developing, manufacturing, testing, packaging, marketing, distributing, labeling, and/or selling Roundup

despite knowing that Roundup is unsafe and causes NHL and other dangerous cancers.

       22.      Defendant Bayer US is an Indiana corporation, with its headquarters and principal place

of business in Whippany, New Jersey. Bayer US is a wholly owned subsidiary of Bayer AG and the

direct parent of Defendant Monsanto.

       23.      Defendant Monsanto is a Delaware corporation, with its headquarters and principal place

of business in St. Louis, Missouri. At all times relevant to this First Amended Class Action Complaint



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(“FAC”), Monsanto was the entity that discovered and promoted the herbicidal properties of glyphosate

and is engaged in the business of designing, developing, manufacturing, testing, packaging, marketing,

distributing, labeling, and/or selling Roundup. Since June 7, 2018, Monsanto has been wholly owned,

indirectly, by Bayer AG.

          24.   “Roundup” refers to all formulations of Defendants’ Roundup products, including, but

not limited to, Roundup Concentrate Poison Ivy and Tough Brush Killer 1, Roundup Custom Herbicide,

Roundup D-Pak Herbicide, Roundup Dry Concentrate, Roundup Export Herbicide, Roundup Fence &

Hard Edger 1, Roundup Garden Foam Weed & Grass Killer, Roundup Grass and Weed Killer, Roundup

Herbicide, Roundup Original 2k Herbicide, Roundup Original II Herbicide, Roundup Pro Concentrate,

Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik Grass and Weed Killer, Roundup

Quikpro Herbicide, Roundup Rainfast Concentrate Weed & Grass Killer, Roundup Rainfast Super

Concentrate Weed & Grass Killer, Roundup Ready-to-Use Extended Control Weed & Grass Killer 1

Plus Weed Preventer, Roundup Ready- to-Use Weed & Grass Killer, Roundup Ready-to-Use Weed and

Grass Killer 2, Roundup Ultra Dry, Roundup Ultra Herbicide, Roundup Ultramax, Roundup VM

Herbicide, Roundup Weed & Grass Killer Concentrate, Roundup Weed & Grass Killer Concentrate Plus,

Roundup Weed & Grass Killer Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate,

Roundup Weed & Grass Killer 1 Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide Deploy

Dry Herbicide, and any other formulation containing the active ingredient glyphosate.

          25.   Defendants derive substantial revenue from goods and products used in California and

nationwide. Defendants expected or should have expected their acts to have consequences within this

District and California, as well as nationwide. Upon information and belief, Defendants did design, sell,

advertise, manufacture and/or distribute Roundup with full knowledge of its dangerous and defective

nature.



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IV.    FACTS

       A.       Monsanto’s Discovery of Glyphosate

       26.      Monsanto was the ﬁrst company to recognize potential in the chemical glyphosate. It

discovered glyphosate to be an herbicide in 1970 and brought it on the market as Roundup in 1974.

       27.      All Roundup products at issue contain glyphosate. Glyphosate is a broad-spectrum

herbicide used to kill weeds and grasses around the world. It is a “non-selective” herbicide that inhibits

plant growth by inhibiting the production of a speciﬁc enzyme, with causes an accumulation of acids

and ultimately plant death. In addition to glyphosate, Roundup includes surfactants, which are chemicals

that increase penetration of other chemicals (in this case, glyphosate) into both plant and human tissue.

Surfactants have been shown to exacerbate the absorption of glyphosate and thus substantially increase

the toxicity and danger to human health.

       28.      Today, glyphosate is the most-used herbicide in the world. Each year, approximately

127,000 tons of glyphosate-based products are sprayed on crops, school campuses, commercial

nurseries, lawns, parks, and golf courses in the United States alone; approximately 700,000 tons of

glyphosate-based products are sprayed on such areas worldwide. Over 90% of glyphosate is applied in

agricultural settings on ﬁeld crops.

       B.       Status of Monsanto’s Federal Registration of Roundup

       29.        e manufacture, formulation, and distribution of herbicides such as Roundup are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136, et

seq. FIFRA requires that all pesticides be registered with the Environmental Protection Agency (“EPA”)

prior to their distribution, sale, or use, except as described by FIFRA, 7 U.S.C. § 136a(a).

       30.        e EPA requires as part of its registration process the submission of studies examining

the eﬀects of and potential toxicity associated with exposure to the proposed pesticide of people,



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animals, and/or the environment. Registration by the EPA is not an assurance or ﬁnding of safety.

Rather, the determination the EPA makes in registering or re-registering a product is not that the product

is “safe,” but that use of the product in accordance with its label directions “will not generally cause

unreasonable adverse eﬀects on the environment.” FIFRA deﬁnes “unreasonable adverse eﬀects on the

environment” to mean “any unreasonable risk to man or the environment, considering the economic,

social, and environmental costs and beneﬁts of the use of any pesticide.” FIFRA thus requires the EPA to

make a risk-beneﬁt analysis in determining whether to grant registration or allow continued sale of a

product.

       31.      To comply with federal law, a registrant must submit to the EPA all relevant data it

produces.    e government is neither required nor able to perform product testing of pesticides.

       32.      To obtain initial registration and approval from the EPA to sell Roundup in the United

States, Monsanto submitted results of studies examining the eﬀects of glyphosate on animals, including

animal cancer studies.     ese studies were subsequently deemed invalid, but only after Roundup was

released into the marketplace.

       33.        e data necessary for registration of a pesticide with the EPA then changed over time.

  e EPA has been re-evaluating all pesticide products through a Congressionally mandated process

called “re-registration.” To re-evaluate these pesticides, the EPA demands the completion and

submission of additional tests and data for review and evaluation.

       34.      In the case of glyphosate and Roundup, the EPA planned to release its preliminary risk

assessment in relation to the re-registration process by July 2015. It delayed release of that assessment in

light of a ﬁnding published by the International Agency for Research on Cancer (“IARC”), an

intergovernmental government agency within the United Nations’ World Health Organization (“WHO”).

In March 2015, the IARC convened a working group of 17 experts from 11 countries to evaluate and



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coordinate research into causes of cancer as they pertained to several herbicides, including glyphosate.

  e evaluation was based on a cumulative review of all publicly available and pertinent scientiﬁc

studies, some of which pertained to people exposed to glyphosate because of their occupation, including

farmers.

       35.      In the resulting July 2015 report, the IARC identiﬁed glyphosate as probably

carcinogenic to humans. It also found that glyphosate caused DNA and chromosomal damage in

humans.

       36.      On January 30, 2020, the EPA released its re-registration decision on glyphosate, which

concluded that “there are no risks to human health from the current registered uses of glyphosate and

that glyphosate is not likely to be carcinogenic to humans.”    is conclusion does not comport with the

IARC’s ﬁndings and, as explained below, was based on a body of scientiﬁc literature that has been

manipulated by Defendants for decades.

       37.      Indeed, in 2022, the United States Court of Appeals for the Ninth Circuit ordered the EPA

to reconsider its decision regarding glyphosate after reviewing the science and determining EPA shirked

its duties in reviewing glyphosate.   e Court found that “EPA’s errors in assessing human-health risk are

serious” and noted that the agency deemed glyphosate unlikely to cause cancer despite most studies

reviewed showing that glyphosate caused an increased risk of NHL, and thus that EPA’s determination

was not supported by substantial evidence.

       38.        e Ninth Circuit ordered the EPA to complete its re-registration review by October

2022. Instead, in September 2022, EPA issued a withdrawal of its registration review decision, and

advised it anticipates issuing a ﬁnal registration review for glyphosate in 2026.




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         C.       Decades of Research Has Concluded Glyphosate and Roundup Are Harmful to
                  Human Health

         39.      As early as the 1980s, Monsanto was aware of glyphosate’s carcinogenic properties,

alone and as formulated in glyphosate-based herbicides like Roundup.

         40.      Glyphosate has long been associated with carcinogenicity and the development of NHL.

Many studies have evidenced the carcinogenicity of glyphosate and/or Roundup, and that formulated

Roundup is even more toxic than glyphosate alone, including, inter alia:

                  a)      A 1983 study conducted Monsanto that revealed mice exposed to glyphosate

                          developed malignant lymphomas and rare kidney tumors at increased rates;1

                  b)      A 1985 review by the EPA’s Toxicology Branch, based on the 1983 mouse study,

                          that initially classiﬁed glyphosate as a “Category C oncogen,” meaning a possible

                          human carcinogen (though EPA later changed its ﬁndings);

                  c)      A 1997 published study which showed that tadpoles exposed to various herbicides

                          including Roundup “showed signiﬁcant DNA damage” when compared with

                          unexposed animals;2

                  d)      A 1999 published case-control study in Sweden encompassing 442 cases of

                          exposure and twice as many controls indicated that exposure to glyphosate

                          yielded increases risk of NHL;3




1
 Knezevich AL, Hogan GK, A chronic feeding study of glyphosate in mice: Monsanto. (1983) Report
No. 77—2011 East Millstone: Bio/Dynamic Inc.
2
  Clements C, Ralph S, Petras M, Genotoxicity of select herbicides in Rana catesbeiana tadpoles using
the alkaline single-cell gel DNA electrophoresis (comet) assay. (1997) Environ Mol Mutagen.
3
  Hardell L, Eriksson M, A case-control study of non-Hodgkin lymphoma and exposure to pesticides.
(1999 Mar.) Cancer.

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                  e)      A 2003 published study that concluded from pooled data the use of glyphosate

                          increased incidence of NHL;4

                  f)      A 2004 published study that determined “glyphosate-based pesticides are clearly

                          of human health concern, by inhalation in the vicinity of spraying” given the

                          molecular link between glyphosate and cell cycle dysregulation; 5

                  g)      A 2005 published study suggested the harmful eﬀects of Roundup are the result of

                          its speciﬁc combination of chemicals and the interaction of glyphosate with

                          surfactants used;6

                  h)      A 2008 published case-control study concluding that glyphosate exposure is a risk

                          factor for NHL;7

                  i)      A 2009 published study that examined the eﬀect on human cells of four Roundup

                          formulations, at dilution levels far below agricultural recommendations, and

                          found the formations caused cell death, caused DNA damages, and inhibited cell

                          respiration, and that surfactants used in Roundup amplify the toxicity of

                          glyphosate;8




4
 De Roos AJ, Zahm SH, Cantor KP, Weisenburger DD, Holmes FF, Burmeister LF, Blair A, Integrative
assessment of multiple pesticides as risk factors for non-Hodgkin's lymphoma among men. (2003 Sep.)
Occup Environ Med.
5
 Marc J, Mulner-Lorillon O, Bellé R, Glyphosate-based pesticides aﬀect cell cycle regulation. (2004
Apr.) Biol Cell.
6
 Peixoto F, Comparative eﬀects of the Roundup and glyphosate on mitochondrial oxidative
phosphorylation. (2005 Dec.) Chemosphere.
7
  Eriksson M, Hardell L, Carlberg M, Akerman M, Pesticide exposure as risk factor for non-Hodgkin
lymphoma including histopathological subgroup analysis. (2008 Oct.) Int J Cancer.
8
 Benachour N, Séralini GE, Glyphosate formulations induce apoptosis and necrosis in human
umbilical, embryonic, and placental cells. (2009 Jan.) Chem Res Toxicol.

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                   j)       A 2017 literature review concluding that “some of the most compelling studies in

                            human populations suggest associations” between glyphosate-based herbicides

                            and NHL;9 and

                   k)       A 2021 literature review concluding that glyphosate causes NHL and that

                            formulated glyphosate-based herbicides are more acutely toxic than glyphosate

                            alone.10

          41.           ese results were conﬁrmed in published peer-reviewed studies and were always

available and/or known to Defendants. Indeed, Monsanto publicly claims to review in detail every study

published about their products. Defendants knew or should have known that glyphosate is carcinogenic,

that Roundup is more toxic than glyphosate alone, and that further safety studies on Roundup and its

formulations, including surfactants, were necessary to protect Plaintiﬀs and members of the Class from

potential injury.

          D.       Roundup is Banned roughout the World, and Glyphosate is Classiﬁed in
                   California as a Carcinogen

          42.      Following the IARC’s report on glyphosate, several countries and country-states issued

bans or restrictions on glyphosate herbicides, including Roundup:

                   a)          e Netherlands banned all non-commercial use of glyphosate in May 2015;

                   b)       Italy prohibited the use of glyphosate for use in pre-harvest agricultural treatment

                            and in areas frequented by the public or vulnerable groups in 2016;

                   c)          e Flemish government approved a ban on individual use of glyphosate in 2017;



9
 Vandenberg et al., “Is it time to reassess current safety standards for glyphosate-based herbicides?”
(2017) 71 J. Epidemiological Community Health 613, 614.
10
  D. Weisenburger, “A Review and Update with Perspective of Evidence that the Herbicide Glyphosate
(Roundup) is a Cause of Non-Hodgkin Lymphoma.” (2021) 21 Clinical Lymphoma, Myeloma and
Leukemia, 621.

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                d)        Two Indian states, Punjab and Kerala, banned the sale of glyphosate in 2018 and

                          2019 respectively;

                e)        France banned the sale of Roundup in January 2019, and in April 2019, a French

                          appeals court ruled Monsanto was liable for the health problems of a farmer who

                          inhaled Roundup;

                f)          e Czech Republic’s agricultural ministry imposed a ban on the blanket use of

                          glyphosate as a weed killer in 2019; and

                g)        Luxembourg issued a total ban on glyphosate in 2020.

       43.           e State of California considers glyphosate a carcinogen, and several United States

municipalities have banned glyphosate herbicides.

       E.       For Decades, Monsanto Actively Concealed Evidence that Glyphosate and Roundup
                Are Harmful to Human Health

       44.      Rather than meaningfully investigate the safety of Roundup as formulated, Monsanto

instead continued to sell Roundup to millions of consumers in the United States each year, while

dedicating itself to undermining the scientiﬁc community’s eﬀorts to conclusively establish the health

risks posed by Roundup. Indeed, as one court has already found by clear and convincing evidence,

“Monsanto made ‘continuous eﬀorts to impede, discourage, or distort the scientiﬁc inquiry about

glyphosate and those actions were reprehensible and showed a conscious disregard for health.’”

       45.      As studies evidencing a link between Roundup and NHL became public in the 1990s

(supra ¶ 40), Monsanto hired world-renowned genotoxicologist Dr. James Parry to create reports that

would help Monsanto undermine those studies and convince the scientiﬁc community and the public that

glyphosate was safe.

       46.      Monsanto’s plan backﬁred. Dr. Parry’s review of the scientiﬁc evidence did not support

the desired conclusion. Dr. Parry instead advised Monsanto that glyphosate appeared genotoxic, that

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Roundup as formulated was more genotoxic than glyphosate alone, and that prior studies Monsanto

performed were deﬁcient and unsound. He recommended that Monsanto undertake further research and

oﬀered to undertake the research himself.

       47.      Because Monsanto’s goal was not to actually determine whether glyphosate-based

herbicide causes cancer but instead to ﬁnd a scientiﬁc expert that could manipulate regulators, Monsanto

not only failed to commission further research or accept Dr. Parry’s oﬀer to conduct it—it failed to

submit Dr. Parry’s ﬁndings to the EPA, in violation of reporting requirements under 40 C.F.R.§ 159.158.

       48.      While Monsanto has attempted to cast its disregard for Dr. Parry’s ﬁndings as a mere

disagreement of reasonable scientiﬁc minds, in reality, Monsanto has built its claims of safety on studies

that were invalid, if not criminally fraudulent. Many of the studies Monsanto commissioned and relied

on to suggest glyphosate and Roundup were safe were actually performed by a laboratory that was later

discredited after an EPA audit revealed scientiﬁc fraud and falsiﬁed research data, which resulted in the

federal convictions of three Industrial Bio-Test Laboratories (“IBT Labs”) executives in 1983. One of

those executives was Paul Wright, a scientist who worked at Monsanto before joining IBT Labs then

returning to Monsanto following his federal convictions for mail fraud and making false statements.

       49.      An EPA audit subsequently—and unsurprisingly—found that toxicology studies

Monsanto procured from IBT Labs in seeking EPA approval of Roundup were invalid. Afterward,

Monsanto did nothing to warn the public that its safety testing had been invalidated and did nothing to

change its marketing of Roundup, conduct which the California First District Court of Appeal noted in

2021 “shows conscious disregard for public health and safety” when it upheld a substantial award of

punitive damages against Monsanto for related conduct.

       50.      Monsanto also engaged in a pervasive ghostwriting campaign. Internal company emails

evidence that Monsanto employees repeatedly penned studies, signed by purportedly independent



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scientists with whom Monsanto had contracted, in order to publish ﬁndings that Roundup poses little to

no health risk to humans. Monsanto then used those studies to both “build Roundup sales” and later to

undermine the IARC 2015 announcement that glyphosate was a probable carcinogen.

        51.     Indeed, when Monsanto learned as early as 2014 that the IARC was critically reviewing

glyphosate as a probable human carcinogen, it doubled down on its ghostwriting and other unethical

practices to seize control of the public narrative, ﬂood the scientiﬁc literature with reports of

glyphosate’s safety, and smear the IARC.

        52.     Monsanto hired a Canadian ﬁrm, Intertek, to coordinate four “independent expert panels”

of ﬁfteen researchers to publish ﬁve studies in a journal called Critical Reviews in Toxicology in 2016 as

part of Monsanto’s eﬀorts to battle IARC’s announcement.         e researchers concluded unanimously that

glyphosate was not a carcinogen.      ose papers proved persuasive to regulators. For example, in

defending its decision to re-approve use of glyphosate in 2017 until 2032, despite the IARC’s 2016

warning, Health Canada cited the papers generated by the researchers coordinated by Intertek, which

Monsanto bought and paid for. A 2016 EPA panel charged with reviewing the safety of glyphosate also

recommended that the EPA study “relevant papers,” including two of the papers generated as part of the

Intertek project.

        53.     All authors associated with the Intertek project ultimately signed “corrections,”

disclosing belatedly that Monsanto reviewed preliminary and ﬁnal drafts of their articles that criticized

the IARC assessment and apologized for any “errors or omissions.”

        54.     Still, Monsanto’s strategy of ghostwriting and paying oﬀ scientists to ﬂood the literature

with reports that glyphosate was safe was successful. In addition to the Intertek papers, the EPA also

cited other “studies” by Monsanto collaborators, including a 2015 study and a 2020 study later identiﬁed

as ghostwritten.



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       55.      Monsanto also quietly funded lobbying groups to undermine public statements calling

into question the safety of glyphosate or Roundup. As just one example, in 2017, a group called

“Campaign for Accuracy in Public Health Research” (“CAPHR”) was formed with the purpose of

discrediting the IARC’s determination that glyphosate was a probable human carcinogen. CAPHR was

funded by CropLife America, which was in turn funded by Monsanto. CAPHR lobbied Congress to

defund the IARC in response to its determination. Internal Monsanto emails also reveal that Monsanto

funded the American Council on Science and Health (“ACSH”) in exchange for the group promoting

glyphosate and deriding its critics under the guise of an “independent” group of scientists.

       56.      Monsanto understood that the IARC’s review posed a major threat to its ability to

continue selling Roundup. As written in an internal Monsanto email: “If there is a force working against

glyphosate, there is ample fodder to string together to help the case even though it is not scientiﬁcally

justiﬁed in its purest form.” In other words, Monsanto understood that there was plenty of scientiﬁc

evidence available to support a ﬁnding of human carcinogenicity, absent application of the kind of

hyper-technical arguments Monsanto and its army of researchers on payroll were willing to make to

discount it. Monsanto undertook a smear campaign against the IARC when it learned it was reviewing

glyphosate, including by creating an internal document on “strategies and tactics” for responding to the

IARC. One such tactic was “Orchestrate Outcry with IARC Decision.”

       57.      Bayer has continued Monsanto’s campaign against the IARC, inaccurately critiquing the

IARC’s conclusion as “inconsistent” with experts.

       F.       For Decades, Despite Knowledge of the Dangers of Glyphosate Exposure, Monsanto
                Continued to Advertise Roundup as Safe for Humans

       58.      Despite Monsanto’s knowledge of extensive evidence of the dangers of glyphosate and

Roundup, Roundup products did not contain a warning label telling consumers or workers to use

protective equipment or notifying them of the cancer risks of exposure. Rather, product labels


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inaccurately inform consumers that Roundup “targets an enzyme found in plants, but not in people or

pets.”

         59.    For years, Monsanto produced commercials that depicted people using Roundup without

protective equipment. Monsanto even implicitly supported a narrative that Roundup is safe enough to

drink.    us, many agricultural workers, landscapers, and groundskeepers have used Roundup without

adequate protective equipment, because Defendants did not instruct them to do so. At the same time,

Monsanto was warning its own employees who worked with Roundup to wear protective bodysuits,

gloves, and face masks.

         60.    Many such workers reported believing Roundup is safe.        e public relies on Defendants

to oﬀer quality, safe products, and to inform them of any potential health risks. Defendants instead

manufactured, labeled, marketed, distributed, and sold a deadly product without any warning, and while

distorting other public-facing information, all for illicit ﬁnancial gain.

         61.      is focus on ﬁnancial gain at the expense of public health and safety is evidenced by

Defendants’ active concealment of evidence from the public and the failure to submit information to

EPA evidencing a link between Roundup and NHL.

         62.    Defendants could and can notify consumers of the potential health risks by, among other

things, providing information on its webpages for Roundup, in television and radio commercials, in-

store signage, such as point-of-sale or shelf tags, posters, or press releases—yet have not done so.

         63.    Plaintiﬀs and members of the Class were not warned and did not know at the time of their

exposure to Roundup that they were being exposed them to chemicals that are hazardous and likely

carcinogenic. Defendants failed, at the very least, to warn consumers that there is a vigorous scientiﬁc

dispute about Roundup’s potential to cause NHL in humans. Knowledge of the existence of this debate

regarding the association of Roundup exposure to the development of NHL is valuable information to



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members of the public, including agricultural workers, landscapers, and groundskeepers, in deciding

whether to use Roundup.

       64.      Roundup’s development of its genetically modiﬁed seeds, i.e., Roundup Ready seeds for

agricultural crops that are immune to Roundup, has only incentivized and allowed agricultural workers

to use even more Roundup, as the product can be applied directly to crops without damaging them. In

2010, an estimated 70% of corn and 90% of soybean ﬁelds in the United States contained Roundup

Ready seeds. Defendants were thus able to secure their dominant position in the glyphosate and

herbicide market through a marketing strategy that coupled proprietary Roundup Ready seeds with

continued sales of Roundup herbicide.

       65.        e success of Defendants’ marketing tactics has made glyphosate omnipresent in the

United States and puts agricultural workers and other occupational workers at heightened risk. By

deﬁnition, members of the Class were exposed to glyphosate over periods of time suﬃcient to establish

an exposure level that is considered to be hazardous to health, and that is considered to be suﬃcient to

cause cancer or increase the risk of developing cancer. As a proximate result of Defendants’ acts and

omissions, the Class is at an increased risk of developing cancer above the normal base-level risk.

       G.       Medical Monitoring of the Development of NHL

       66.      NHL is a deadly blood cancer that aﬀects the body’s lymphatic system, which ﬁghts

infection and disease, and often spreads to other areas of the body, including the liver, brain, and bone

marrow. One in four people diagnosed with NHL die within ﬁve years. Survivors of NHL suﬀer from a

diminished quality of life due to treatment-related toxicities, lasting physical pain, fatigue, ﬁnancial

diﬃculties, post-traumatic stress, and fear of relapse.

       67.        ough NHL is pernicious, the science and research shows that early detection,

intervention, and diagnosis can greatly increase survivability. Early detection of NHL in patients is one



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of the best, and sometimes the only, means of treating cancer, as it can possibly prevent the risk of

permanent injury, illness, or death. In advanced clinical stages, NHL is usually not curable, but early-

stage NHL can be.

       68.      Early detection necessarily allows patients to avail themselves of myriad forms of prompt

and eﬀective treatment, each of which is capable of altering the course of the illness or signiﬁcantly

decreasing a Class Member’s risk of severe injury, e.g., by bringing cancer into remission or allowing

for removal of any malignant tumors. Simply put, needed treatment can begin sooner. Early detection

can provide great beneﬁt to patients who are developing NHL by reducing the amount of chemotherapy

necessary for treatment and remission.

       69.      If a diagnosis of NHL is suspected, further evaluation and monitoring includes laboratory

testing, imaging, and biopsy. Laboratory testing is often the initial step.

       70.      Because NHL can be treated more eﬀectively and with a better result if it is detected

early, and given that NHL can be detected in a general practice setting with a clinically noted set of

symptoms, increased visits to a medical clinician necessarily reduces the risk of mortality from NHL.

  us, determining the medical status of hundreds of thousands of potentially at-risk agricultural workers

and landscapers is the initial and most important beneﬁt of the proposed program.

       71.      In addition, and separate from treatment of those who already have symptoms of NHL

which are detectable by general practitioners, technology, analytical tools, and monitoring procedures

exist and are readily available to provide for detecting signs of the development of NHL for Class

Members who may not present with readily observable NHL symptoms but who may nevertheless be at

a signiﬁcantly increased risk of developing the disease.     ese technologies and monitoring procedures

are accepted and widely used by the scientiﬁc and medical community and include but are not limited to

blood and genetic tests which predict increased risks of developing NHL.



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       72.      Available tests are a culmination of several nested case-control studies of populations at

risk for NHL, which examined pre-diagnosis markers involving immunological and genetic changes.

  e most recent and comprehensive analysis of immune marker studies was conducted by the National

Cancer Institute (“NCI”).       e NCI-led investigation pooled together eight peer-reviewed studies in

diﬀerent cohorts to conﬁrm that tests of serum for certain immune market concentrations provide robust

evidence of an association between elevated immune marker concentrations and the risks of developing

subtypes of NHL.      ese serum markers were especially good at predicting the development of NHL

within the next two to seven years.

       73.      Another study by NCI investigators within the Agricultural Health Study cohort

examined the association between genetic changes involving the mosaic loss of certain chromosomes

and lifetime occupational glyphosate use.       ey found through testing the blood DNA of farmers who

used Roundup that there were signiﬁcant changes in the DNA sequence within chromosome Y, which

indicated a genotoxic eﬀect and which are early indicators of future cancer risk. With the assistance of

medical experts implementing testing based upon these and other peer-reviewed studies, the ﬁrst step of

an eﬀective medical monitoring program—reliable early detection—is achievable.

       74.      Positive results in the speciﬁc medical tests identiﬁed above, as well as more general

screening for NHL-associated symptoms, such as lumps or pain in the neck or abdominal region, will

identify eligible class members most in need of follow-up medical monitoring for the purpose of

detecting NHL at its earliest stage.

       75.      The tests and treatments for the early detection and treatment of NHL must be prescribed

by a qualiﬁed clinician and can primarily be conducted by clinics specially funded under the Diagnostic

Assistance Grant Program (“DAGP”), a federally funded program aimed at servicing agricultural




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workers and which serves 28 geographic areas where over 90% of agricultural workers and landscapers

in the United States reside.

       76.      Because Roundup-associated cancer screenings may not otherwise be conducted with the

frequency necessary to identify cancer for individuals who are at heightened risk of developing NHL

such as Plaintiﬀs and the Class, the prescribed monitoring regime is diﬀerent from that normally

recommended in the absence of exposure. Plaintiﬀs and Class Members require more frequent

screenings not within the purview of routine medical exams. Existing DAGP clinics around the country

already engage in outreach eﬀorts to provide general medical services to thousands of farmworkers, and

these eﬀorts could be ampliﬁed and augmented through the provision of a speciﬁc NHL medical

monitoring program tailored to the above testing mechanisms.

       H.       Plaintiﬀs’ Use of and Exposure to Roundup

       77.      Plaintiﬀs have resided and have worked in California at all relevant times.

       78.      Plaintiﬀs have been signiﬁcantly exposed to Roundup products in the course of their

employment and as part of their occupational duties, in San Luis Obispo and Santa Barbara, California,

for a sustained and prolonged period of time, and at least for 19 years.

       79.      Plaintiﬀs did not know, when applying Roundup at work, that Roundup had the potential

to cause NHL, or at the very least, that there was an ongoing scientiﬁc dispute concerning its potential

carcinogenicity.

       80.      Had Plaintiﬀs known, they would not have used Roundup. Plaintiﬀs learned that

Roundup has the potential to cause cancer after prolonged exposure to Roundup and now harbor serious

fear that the ingestion or exposure of Roundup was of such a magnitude and proportion as to likely

result in NHL. Plaintiﬀs are now aware that ingestion and exposure to Roundup and the glyphosate

contained therein, particularly over a sustained and prolonged period of time, leads to a signiﬁcantly



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increased risk of developing NHL. On information and belief, Plaintiﬀs’ s exposure is ongoing due to

their occupations.

       81.      Defendants’ concealment and omission of material facts, and failure to adequately warn

Plaintiﬀs of the dangers associated with use of Roundup, is material because Plaintiﬀs and the Class

used a product that they believed to be safe when it in fact has known associated links with the

development of cancer.

V.     EQUITABLE TOLLING OF APPLICABLE STATUTES OF LIMITATION

       82.      Defendants, through their aﬃrmative misrepresentations and omissions, actively

concealed from Plaintiﬀs and Class members the true risks associated with Roundup and glyphosate. At

all relevant times, Defendants have maintained that Roundup is safe, non-toxic, and non-carcinogenic.

       83.      As of March 2023, Bayer continues to represent to the public that: “ ere is an extensive

body of research on glyphosate and Bayer’s glyphosate-based herbicide . . . that conﬁrms these products

can be used safely and that glyphosate does not cause cancer.”

       84.      Even after a jury found in 2019 that “Roundup’s design was defective,” “Roundup lacked

suﬃcient warning of the risk of NHL,” and “Monsanto was negligent by not using reasonable care to

warn about Roundup’s NHL risk,” Defendants continue to make false and misleading assertions

regarding the safety of Roundup, including that the product “can be used safely and . . . glyphosate does

not cause cancer.”

       85.      As a result of Defendants’ actions, Plaintiﬀs were unaware, and could not reasonably

have known or have learned through reasonable diligence, that contact with Roundup and/or glyphosate

exposed them to the risks alleged herein and that those risks were the direct and proximate result of

Defendants’ acts and omissions.




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          86.   Defendants are estopped from relying on any statute of limitations because of their

fraudulent concealment of the true character, quality, and nature of Roundup. Defendants were under a

duty to disclose the true character, quality, and nature of Roundup, as this was non-public information

unavailable to Plaintiﬀs and over which Defendants had and continue to have exclusive control.

Defendants are also estopped from relying on any statute of limitations because of their intentional

concealment of the immediately foregoing facts, e.g., their exclusive control and Plaintiﬀs’ lack of

access.

          87.   Plaintiﬀs did not know that Defendants were engaged in the wrongdoing alleged herein

and could not have reasonably discovered the wrongdoing at any time prior. Defendants had the ability

to and did spend enormous amounts of money in furtherance of marketing, promoting and/or

distributing a proﬁtable herbicide, notwithstanding the known, reasonably knowable risks. Plaintiﬀs and

the medical professionals who treated them could not have aﬀorded and could not have conducted

studies to determine the nature, extent, and identity of related health risks, and were forced to rely on

Defendants’ false representations. Accordingly, Defendants are precluded by the discovery rule and/or

the doctrine of fraudulent concealment from relying upon any statute of limitations.

VI.       CLASS ALLEGATIONS

          88.   Plaintiﬀs reallege and incorporate by reference the allegations set forth in each of the

preceding paragraphs as though fully set forth herein. Plaintiﬀs bring this action as a class action

pursuant to Rule 23(a) and Rule 23(b) of the Federal Rules of Civil Procedure on behalf of themselves

and all members of the following Class:

                Agricultural workers, landscapers, and groundskeepers who: (1) were
                exposed to Roundup as part of their occupational duties in California for
                ten or more lifetime exposure days prior to June 21, 2024, (2) are not
                diagnosed as suﬀering from NHL or under the care of a physician for
                suspected NHL as of the date of any relief obtained in this action, and (3)
                have not commenced a lawsuit or retained counsel for the pursuit of any


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                personal injury, other tort, or class action claim arising from or relating to
                Roundup exposure prior to June 21, 2024 (the “Exposure Criteria”).

        89.     “Signiﬁcant,” as used in this complaint, means ten or more lifetime exposure days.

        90.       e following are excluded from the Class: The judicial officers, appointees, and

designees assigned to this action, and any member of their immediate families; Defendants, any of their

past, present, or future officers, directors, trustees, agents, representatives, employees, principals, trusts,

partners, joint ventures or controlled entities; and successors, assigns, heirs or other persons or entities

related to or affiliated with Defendants as of June 21, 2024; and, all those otherwise in the Class who

timely and properly exclude themselves therefrom in such manner as the Court may direct.

        91.     Plaintiﬀs bring this action on behalf of the Class for equitable and injunctive relief for a

court-supervised medical monitoring program as described herein. Alternatively, Plaintiﬀs seek to certify

important common questions for class-wide determination on an “issues class” basis.

        92.     Numerosity. Roundup is the best-selling herbicide in the United States.          e members of

the Class are so numerous as to render their individual joinder impracticable. Although the precise

number of Class members is unknown, based on information and belief, Plaintiﬀ allege the Class

contains hundreds of thousands to millions of members.

        93.     Members of the Class may be notiﬁed of the pendency of this action by techniques and

forms commonly used in class actions, such as by published notices in publications and on ﬂyers and

posters in clinics, including DAGP clinics; laborer hiring and employment resources oﬃces; community

centers (including on agricultural, landscaping, and groundskeeping jobsites); radio; television; e-mail

notice; website notice; social media; ﬁrst class mail; or combinations thereof, or by other methods

suitable to the Class and deemed necessary by the Court.




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       94.      Commonality. Plaintiﬀs’ claims raise signiﬁcant common questions, i.e., questions with

answers not dependent upon the particular circumstances of Class members, and the answers to which

are the same for everyone in the Class.    ese common questions include but are not limited to:

                a.      whether Roundup can cause NHL in humans (general causation);

                b.      whether Defendants were aware of the risks posed by use of or exposure to their

                        Roundup products, or reasonably should have known of the risks posed;

                c.      whether Defendants misrepresented, omitted, concealed, or failed to warn of or

                        disclose material facts regarding the risks of use or exposure to Roundup,

                        including in their advertising and marketing;

                d.      whether Defendants’ practices related to the funding of research and marketing

                        and sale of Roundup were unlawful, unfair, or fraudulent.

       95.      Common questions regarding Defendants’ Roundup products, their knowledge of

associated risks (including the increased risk of developing NHL from exposure), and their conduct

thereafter, are inquiries salient to all claims. Resolving them on a class-wide basis would itself

signiﬁcantly advance the resolution or determination of all Class Members’ claims, would save millions

of dollars for the Class, and would save thousands of hours of judicial time and resources.

       96.      Typicality. Plaintiﬀs’ claims are typical of those held by other members of the Class in

that each were exposed to Roundup through the course of employment and as part of their occupational

duties, none are diagnosed with NHL or under the care of a physician for suspected NHL, and none have

commenced an individual lawsuit against Defendants or retained counsel with the intention of ﬁling a

lawsuit against Defendants related to the facts alleged in this First Amended Complaint.

       97.      Adequacy. Plaintiﬀs and other class representatives will fairly, adequately, and

vigorously protect the interests of the Class. Plaintiﬀs have retained trial counsel highly experienced in



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complex litigation, including complex class action litigation involving toxic exposures, and Plaintiﬀs

intend to vigorously prosecute this action. Plaintiﬀs have no interests in this action that are adverse or

antagonistic to the interests of the Class.

        98.     Predominance and Superiority.          e common questions of law and fact raised in this

First Amended Complaint predominate over those aﬀecting only individual Class members. Under these

circumstances, class action litigation is superior to all other available means for the fair and eﬃcient

adjudication of common questions because these common questions are key to the advancement of the

litigation by Class members.

        99.     Further, individualized litigation would create the danger of inconsistent or contradictory

results arising from an identical factual predicate.

        100.    By contrast, litigation of common questions as a class action in a single, unitary

proceeding will materially advance the disposition of the litigation because it will provide substantial

economies of scale, allow comprehensive supervision of this issue raised herein by a single court, and

presents no unusual management diﬃculties under the circumstances presented.

VII.    CLAIMS FOR RELIEF

                                                  COUNT I

                                 Negligence/Negligent Misrepresentation

        101.    Plaintiﬀs and the Class incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

        102.    Defendants owed Plaintiﬀs and the Class a duty to exercise reasonable care in the

designing, researching, testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or

distribution of Roundup, including a duty to avoid that the product would put users at an increased risk

of suﬀering unreasonable and dangerous side eﬀects, conditions, or harm.



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       103.     Defendants breached that duty. Defendants manufactured, marketed, advertised, and sold

Roundup as a “weed killer,” but failed to disclose to users material information regarding the link

between exposure to and the likelihood of developing NHL, despite the fact that Defendants knew or

should have known of Roundup’s propensity to cause NHL.

       104.       e risk of NHL is serious, and sustained and prolonged exposure to Roundup and the

known and suspected carcinogens therein (e.g., glyphosate) leads to a signiﬁcantly increased risk of

developing NHL.

       105.     Defendants also failed to disclose, concealed, suppressed, and omitted material

information concerning both Roundup and the various studies that Defendants have cited, and studies

that the Defendants have suppressed, resulting in a misrepresentation to both the Plaintiﬀs, and

regulators such as the EPA, as to the true risk of Roundup.

       106.     Defendants intended that Plaintiﬀs and the Class rely upon their material

misrepresentations and omissions.

       107.     Defendants’ negligent conduct, as alleged in herein, exposed Plaintiﬀs to an increased

risk of developing NHL from their use of Roundup, rendering Defendants responsible for preventing or

mitigating that risk of harm through payment for a program providing for medical monitoring and

surveillance programs, or other programmatic remedies according to proof and as approved by the Court

and administered under its ongoing supervision.

       108.     As a result of this violation, Plaintiﬀs and members of the Class ingested various known

and suspected carcinogens contained in Roundup due to exposure over a sustained and prolonged period

of time.

       109.     Plaintiﬀs and members of the Class now know that sustained and prolonged exposure to

Roundup leads to a signiﬁcantly increased likelihood that they will develop NHL.      is increased



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likelihood of developing NHL as a result of sustained and prolonged exposure to the carcinogens

contained in Roundup is corroborated by medical and scientiﬁc studies and opinions, some of which are

referenced herein.

       110.     As a result of Plaintiﬀs’ sustained and prolonged exposure to Roundup, Plaintiﬀs and

members of the Class harbor serious fear that the ingestion or exposure of Roundup was of such a

magnitude and proportion as to likely result in NHL.

       111.     Defendants’ breach proximately caused Plaintiﬀs and the Class to suﬀer damages, injury

in fact and/or ascertainable loss in amounts to be determined. Defendants are liable to Plaintiﬀs and

Class Members for fair compensation of the resulting injuries, including the costs of administering

medical monitoring and surveillance intended to prevent the development of debilitating or deathly

forms of NHL.

       112.       e determination of the common questions on a class-wide basis will advance the

resolution of this claim for individual Class members.

                                                  COUNT II

                          Violation of   e California Unfair Competition Law,

                                 Cal. Bus. & Prof. Code § 17200, et. seq.

       113.     Plaintiﬀs and the Class incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       114.     Defendants’ actions and omissions described herein were likely to mislead the general

public and therefore constitute unlawful, unfair, or fraudulent business acts within the meaning of the

California Unfair Competition Law, codiﬁed as Business and Professions Code section 17200 (“UCL”).

       115.     Defendants’ unlawful, unfair, or fraudulent business acts in violation of UCL include but

are not limited to the following:



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                a.      Failing to report data and information to EPA in compliance with federal law set

                        forth in 40 C.F.R. § 159 et seq.;

                b.      Failing to disclose to the public material information regarding the link between

                        exposure to and the likelihood of developing NHL, despite the fact that

                        Defendants knew or should have known of Roundup’s propensity to cause NHL;

                c.      Knowingly making false representations to the public as to the characteristics of

                        Roundup products; and

                d.      Knowingly manipulating scientiﬁc evidence for purposes of ﬁnancial gain and

                        with reckless disregard for public safety.

       116.     Plaintiﬀs and the Class bring this action on behalf of themselves and all similarly situated

persons for the equitable and declaratory relief requested; to promote the public interests in the provision

of truthful, non-deceptive information to allow consumers to make informed purchasing decisions; and

to protect Plaintiﬀs, the Class, and the public from Defendants’ unfair methods of competition and

unfair, deceptive, fraudulent, unconscionable and/or unlawful practices. Defendants’ wrongful conduct

has had a widespread impact on the public at large and caused serious injuries to Plaintiﬀs and the Class

members.

       117.     Defendants’ unlawful, unfair, or fraudulent business acts signiﬁcantly impacted

agricultural workers, landscapers, and groundskeepers, including Plaintiﬀs and Class Members, who are

a vulnerable population at particularly heightened risk of exposure to glyphosate-based Roundup.        ese

acts were material as they were likely to deceive reasonable users of Roundup products, including

Plaintiﬀs and Class Members, and induce them to expose themselves to Roundup products without

being aware that they were unsafe to use and thereby be at increased risk of developing a deadly cancer.




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       118.     As a direct and proximate result of Defendants’ unfair methods of competition and unfair,

deceptive, fraudulent, unconscionable, and/or unlawful acts or practices, Plaintiﬀs and the Class have

suﬀered. Defendants’ conduct, as alleged herein, placed Plaintiﬀs and the Class at increased risk of

contracting NHL through exposure to glyphosate and formulated Roundup, and Defendants should pay

for the costs of medical screening, diagnostic and/or surveillance programs and services to be provided

to Plaintiﬀs and the Class, to prevent or mitigate the injury otherwise resulting from Roundup exposure,

as appropriate and according to proof, through an appropriate program approved by the Court and

administered under its ongoing supervision.

       119.     Defendants have long had notice of the underlying allegations, claims and demands in

this First Amended Complaint, including from internal audits, ﬁeld testing, online complaints, and direct

complaints regarding Roundup.

       120.          e determination of the common questions on a class-wide basis will advance the

resolution of this claim for individual Class members.

                                                  COUNT III

                                        Claim for Declaratory Relief

       121.     Plaintiﬀs and the Class incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       122.     Defendants have acted and refused to act with respect to their misrepresentations and

omissions concerning the safety of Roundup in a manner that has aﬀected all Class members, and the

declaratory, injunctive and equitable relief sought herein will provide relief to all members of the Class.

       123.     An actual case and controversy exists as between Plaintiﬀs and Defendants as to:

                a.       whether Roundup is unﬁt for its ordinary purpose;




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                b.       whether Defendants marketed Roundup but omitted material health information

                         regarding its use;

                c.       whether Defendants’ marketing of Roundup was false, deceptive, and/or

                         misleading;

                d.       whether Roundup is carcinogenic, genotoxic, and/or linked to NHL;

                e.       whether and when Defendants discovered that Roundup was carcinogenic,

                         genotoxic and/or linked to NHL;

                f.       whether Defendants misrepresented, omitted, concealed or failed to disclose

                         material facts regarding the risks of use or exposure to Roundup;

                g.       whether Defendants intended that Plaintiﬀs and the Class rely upon their material

                         misrepresentations and omissions;

                h.       whether Defendants engaged in fraudulent, unfair, or deceptive practices; and

                i.       whether Defendants are ﬁnancially responsible for providing corrective notice to

                         the Class regarding Roundup.

        124.    Under principles of common law tort and as a matter of equity, Defendants should pay for

the costs of medical screening, diagnostic and or surveillance programs and services to be provided to

Plaintiﬀs and the Class, to prevent or mitigate the injury otherwise resulting from Roundup exposure, as

appropriate and according to the requisite proof, through an appropriate program approved by the Court

and administered under its ongoing supervision.

        125.         e requested declaratory relief set forth herein will produce answers to the common

questions that lie at the heart of this litigation and that will allow Plaintiﬀs and the Class to obtain relief

that directly redresses the injuries suﬀered.




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                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, request the

Court to enter judgment against the Defendants, as follows:

         126.   An order certifying an appropriate Class and Subclasses for the determination of common

questions of law and fact regarding Defendants' product, knowledge, conduct, and duty, and to provide

programmatic relief as alleged and requested herein; and designating Plaintiffs and their undersigned

counsel as Class and Subclass Representatives and counsel as appropriate;

         127.   Costs of medical screening, diagnostic and/or surveillance programs and services to be

provided to Plaintiffs and the Class, to prevent or mitigate the injury otherwise resulting from Roundup

exposure, as appropriate and according to proof, through an appropriate program approved by the Court

and administered under its ongoing supervision;

         128.   An award of reasonable attorneys’ fees and costs incurred in this action; and

         129.   Such other and further relief as the Court deems just and proper.

VIII.           JURY DEMAND

         Plaintiﬀs and the Class hereby demand a trial by jury on all matters so properly triable.




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Dated: June 21, 2024                         Respectfully Submitted,

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